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UAET (02-2008)




                 Unopposed Application for Extension of Time to Answer Complaint
                     Attach this form to the Application for Extension of Time to Answer Complaint event.



C ASE AND D EADLINE INFORMATION



Civil Action No.: 2:24-cv-437 [JRG]
Name of party requesting extension: Google LLC
Is this the first application for extension of time in this case?                         ✔ Yes
                                                                                              No
            If no, please indicate which application this represents:                         Second
                                                                                              Third
                                                                                              Other ___________
Date of Service of Summons: 6/13/2024
Number of days requested:                        30 days
                                              15 days
                                                    45 days
                                            ✔ Other _____
New Deadline Date: 8/19/2024                     (Required)


A TTORNEY FILING APPLICATION INFORMATION



            Full Name: Shaun W. Hassett
            State Bar No.: 24074372
            Firm Name: Potter Minton, PC
            Address: 102 North College, Suite 900
                         Tyler, Texas 75702


            Phone: 903-525-2272
            Fax: 903-531-3972
            Email: shaunhassett@potterminton.com
                  A certificate of conference does not need to be filed with this unopposed application.
